    8:18-cb-00004-SMB         Doc # 5   Filed: 04/19/18   Page 1 of 1 - Page ID # 28




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )      8:18CB04-SMB
                                          )      Violation Number 6580956 NE-2
                     vs.                  )
                                          )      ORDER
THADDEUS COSGROVE,                        )
                                          )
                     Defendant.           )


       On the motion of the United States Attorney’s Office, the above-referenced matter is

hereby dismissed without prejudice.

       ORDERED this 19th day of April, 2018.


                                          BY THE COURT:



                                          ____________________________________
                                          SUSAM M. BAZIS
                                          UNITED STATES MAGISTRATE JUDGE
